                                                     Case 3:23-cv-01145-JAM Document 1 Filed 08/28/23 Page 1 of 3
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    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filrng and service of pleadings or other papers as required by law, except as
    provided by local rules of court This form, approved by the Judicial Conference of the United States in September 1974, is required                      Clerk of Court for the
    purpose of initiating the civil docket sheet (SEE JNST!WCT!ONS ON NL.ff /'AGF OF THJS FORM)
                                                                                                                                                       DE,FENDANTS

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         (b)      County ofResirlrnce ofFir~t Listed Plaintiff
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         (c) Attornevs (T,n1• Nan1.,e AdlieJs, and7elroho;1t ,/umb.-:;)                                                                                Aitorneys (.1?Know11)

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             L.S. Government
                 Defendant
                                                                   Diversity
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    IV. NATURE OF SUIT (Place an "X" in One Box On!J)                                                                                                                              Click here for: Nature of Suit Code Descri~~s. __
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✓ I.     CAUSE OF ACTION

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 rn. RELATED CASE(S)
           IF ANY




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